 

 

 

Case 1:20-Cr-00475-JFK- Document 24” Filed 0i3aiPage tot

  
   

| USE SONY i
TOOCLGONT:
bed pee . 3

, i SECALLY FILED |

UNITED STATES DISTRICT COURT Pry

SOUTHERN DISTRICT OF NEW YORK

 

wee ee eee eee ee eee eee 4
U.S.A
oy a #20 Cr 475 (IFK)
Jose Rosario | |
x

Mr. Rosario’s surrender date is adjourned from January 19 to January 26, 2021
to the U.S.-Marshals, SDNY, 500 Pearl Street, New. York, NY.
2) The U.S. Marshals shall produce Mr. Rosario for sentencing on

January 27, 2021 at 11:30 a.m. in Courtroom 20-C, 500 Pearl Street, New York, NY.

SO ORDERED.

Dated: New York, New York . . oo
JOHN F. KEENAN

United States District Judge

 

~
